         Case 1:24-mj-00298-GMH Document 1-1 Filed 09/20/24 Page 1 of 7




                                        Statement of Facts

        Your Affiant,                 , is a Special Agent with the Federal Bureau of Investigation
(“FBI”) and a law enforcement officer of the United States within the meaning of Title 18, United
States Code, Section 2510(7). I am a Special Agent with the FBI and have been so since 2018. As
a Special Agent, I am currently assigned to the                       – Joint Terrorism Task Force
(“FBI-JTTF”). As an FBI Special Agent, I have participated in investigations involving violations
of various federal laws, including laws related to white collar crime, terrorism, drug trafficking,
firearms, and other criminal activities. I have gained experience through training at the FBI
Academy in Quantico, Virginia, and through everyday work conducting investigations. I am a
federal law enforcement officer who is engaged in enforcing criminal laws, including violations
of Title 18 of the United States Code. In addition to my regular duties, I am tasked with
investigating criminal activity that occurred in and around the Capitol grounds on January 6, 2021.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol with the exception of specific areas that are open to the public. On January 6, 2021, the
entire interior as well as the exterior plaza of the U.S. Capitol were closed to members of the
public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, S.E., in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session


                                                 1
         Case 1:24-mj-00298-GMH Document 1-1 Filed 09/20/24 Page 2 of 7




of the United States Congress was effectively suspended until sho1ily after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations oflocal and federal law, including scores ofindividuals inside the U.S. Capitol building
without authority to be there.

                                          DICIOCCIO

        Adrienna DICIOCCIO is a 32-year-old resident ofthe state ofNew York. As described in
detail below, DICIOCCIO engaged in unlawful activity at the U.S. Capitol on Januaiy 6, 2021. As
paii of my investigation, I am familiai· with the fact that the FBI, in conjunction with the U.S.
Attorney's Office, interviewed DICIOCCIO on more than one occasion. During her interview,
DICIOCCIO identified herselfin multiple videos and images that showed DICIOCCIO inside the
Capitol buildin on Januai 6, 2021.




                            Image I (DICIOCCIO circled in yellow)

        DICIOCCIO also confirmed that a specific phone number ending in 5278 (the "5278
Number") was her phone number and she voluntarily gave her phone to the FBI and consented to
its search.



                                                2
           Case 1:24-mj-00298-GMH Document 1-1 Filed 09/20/24 Page 3 of 7




               DICIOCCIO’S ACTIVITIES LEADING UP TO JANUARY 6, 2021

       DICIOCCIO was an active Parler user. Using the Internet Archive’s “wayback machine,”
your affiant has reviewed postings by a Parler account with username “adriennausa” (the
AdriennaUSA Account”). 1 Public-facing posts by the AdriennaUSA Account are attributed to a
user who refers to herself as “Adrienna DiCioccio” as can be seen in the Image 2. According to
records lawfully obtained from the Parler search warrant, the user-provided name on the
AdriennaUSA Account is “Adrienna DiCioccio ���.” During an interview with the FBI,
DICIOCCIO confirmed that the Parler account with the username “adriennausa” is her account.




                                               Image 2

       The AdriennaUSA Account on Parler voted 2 on other users’ posts related to the certification
of the 2020 election on January 6, 2021, and to the events planned for Washington, D.C. on January
6:
           • In or around December 2020, the AdriennaUSA Account voted on multiple posts
               by Joseph Biggs 3 that said, “I will not sit down, I will not shut up, I will not comply!

       1
          The Internet Archive functions to preserve certain publicly available internet pages at
particular moments in time, i.e., it takes a snapshot of the appearance of a public-facing webpage.
As a result, one can use the Internet Archive’s “wayback machine” to retrieve website information
from a particular time if a snapshot was taken of the particular public-facing webpage. I have been
advised by other agents at the FBI that the Internet Archive employs a process that produces a
historical snapshot that accurately records the content of publicly available web pages on the day
that the snapshot was taken.
       2
          Parler users can "vote" or "echo" the posts of other users whom they follow, functions
that are comparable to Twitter's "like" and "retweet" functions.
       3
         Joseph Biggs was later convicted by jury trial of violating 18 U.S.C. § 2384, 18 U.S.C. §
1512(k), 18 U.S.C. § 1512(c)(2), 2, 18 U.S.C. § 372, 18 U.S.C. § 231(a)(3), 2, and 18 U.S.C. §
                                                   3
Case 1:24-mj-00298-GMH Document 1-1 Filed 09/20/24 Page 4 of 7




    I am an American, and I’m sick of the corruption in this country!” and “Attn: DC
    ANTIFA. We will not be attending DC in colors. We will be blending in as one of
    you. You won't see us. You'll even think we are you. We are going to smell like
    you. Move like you and look like you. The only thing we will do that's us! Is think
    like us! Jan 6th is gonna be epic. Can't wait to walk around with you all.




                                     4
Case 1:24-mj-00298-GMH Document 1-1 Filed 09/20/24 Page 5 of 7
Case 1:24-mj-00298-GMH Document 1-1 Filed 09/20/24 Page 6 of 7
        Case 1:24-mj-00298-GMH Document 1-1 Filed 09/20/24 Page 7 of 7




inside the Capitol building for approximately one hour.

        At approximately 3 :27 PM on Janmuy 6, 2021, DICIOCCIO sent a text message to a friend
that read, "We sto1med the capital".

                       PROBABLE CAUSE OF VIOLATIONS OF LAW

        Your affiant submits there is probable cause to believe that DICIOCCIO violated 18 U.S.C.
§ 1752(a)(l) and (2), which makes it a crime to (1) knowingly enter or remain in any restricted
building or grounds without lawful authority to do; and (2) knowingly, and with intent to impede
or disrnpt the orderly conduct of Government business or official functions, engage in disorderly
or disrnptive conduct in, or within such proximity to, any restricted building or grounds when, or
so that, such conduct, in fact, impedes or disrnpts the orderly conduct of Government business or
official functions.

        Finally, your affiant submits that there is probable cause to believe that DICIOCCIO
violated 40 U.S.C. § 5104(e)(2)(D), and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disrnptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrnpt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 20th day of September 2024.




                                                     HONORABLE G. MICHAEL HARVEY
                                                     UNITED STATES MAGISTRATE JUDGE




                                                7
